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                                    1396 DISTRICT COURT
                    IN THE UNITED STATES
                     FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 UNITED STATES OF AMERICA                      §
                                               §
                                               §      CRIMINAL NO. 4:98CR14(30)
 v.                                            §
                                               §
 DAVID ARTHUR WILSON                           §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for modification of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. The Court has received the report of the United States

 Magistrate Judge pursuant to its order. Defendant having waived allocution before this Court as well

 as his right to object to the report of the Magistrate Judge, the Court is of the opinion that the

 findings and conclusions of the Magistrate Judge are correct.
    .
        It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the Court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of twenty four (24) months, with no supervised release to follow.

        IT IS SO ORDERED.

        SIGNED this 10th day of November, 2009.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE
